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                          EXHIBIT F.7
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 Gross Reservoir Expansion Project

 MEETING AGENDA & MINUTES

  Meeting Title:      Stakeholder Coordination        Date/Time:           02/10/2021 2 p.m.
                      meeting on Tree Removal
  Prepared By:        M. Brasfield/A. Denault         Location:            Online - Teams

  Reviewed By:        Denver Water, Tetra Tech,       Project #/File #:    Docket SI-20-0003 1041
                      Town of Superior                                     Permit Application for GRE
                                                                           Project
                      Boulder County, Gilpin
                      County, Jefferson County, and
                      CDOT review pending

 Meeting Summary:
 Boulder County Planning and Permitting staff, Gilpin County staff, Jefferson County staff, CDOT staff and
 Town of Superior staff met with Denver Water staff to discuss tree removal activities in order facilitate a
 common understanding of timelines and expectations related to vegetation clearing, disposal and
 transportation, and address questions raised in Denver Water’s 1041 Permit Application to the County for
 the Gross Reservoir Expansion Project.

                                                  Attendees
                    Travis Bray – Denver Water                Mike Thomas – Boulder County
                   Ashley Denault – Denver Water              Conrad Lattes – Boulder County
                     Doug Raitt – Denver Water                 Amy Willits – Boulder County
                 Melissa Brasfield – Denver Water              Bob Kiepe – Boulder County
                   Jarrod Smith – Black & Veatch              Erica Rogers – Boulder County
                     Sarah McCall – Tetra Tech                Liana James – Boulder County
                     Rachel Miller – Tetra Tech                Abel Montoya – Gilpin County
              Timothy Bilobran – CDOT – Region 4         Stephen Strohminger – Gilpin County
                   Kevin Brown – CDOT Region 1              Alex Ariniello – Town of Superior
                   Rick Solomon – CDOT Region 1             Steve Durian – Jefferson County
              Roberto Medina – CDOT Overweight

 Action Items:


 Notes:
 Mike Thomas provided an update on the 1041 Permit Application by Denver Water process to date. He
 referenced a meeting in December between Boulder County and CDOT that discussed tree removal
 activities and noted this meeting will allow affected agencies the ability to comment, present concerns and
 ask questions.

 He turned the meeting over to Doug.
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 Project Overview and Agency Involvement
     • Doug provided a GRE Project overview.
     • He provided an overall timeline for the 1041 Permit Application.
             o Doug noted Denver Water will share this Tree Removal Plan for agency review in early
                 March.
     • Doug reviewed the work areas and acknowledged that all the work areas are in Boulder County
         but the access to site touches other jurisdictions.
     • Doug acknowledged many agencies have been involved in the GRE Project to date.

 Tree Removal Planning
    • Doug stated that tree removal will occur in two phases. The initial clearing around site
        development areas will occur in Q2 2022. The larger reservoir inundation area clearing will occur
        closer to the end of the project completion. This work will likely occur over two seasons around
        2025.
    • Doug noted transportation management, environmental protections and how Denver Water will
        dispose of this material will all be included in the Tree Removal Plan.

 Past Tree Removal Plans
    • Doug stated that an updated plan in 2019 used the previous reports (2008) as a foundation. The
        2019 plan identified four removal alternatives. After coordination with stakeholders, Denver Water
        is moving forward with one alternative in the 2021 Final Tree Removal Plan. The plan identified
        36 unique stands of trees and approximately 24,000 tons of biomass from reservoir tree clearing.
            o Doug noted that 20-22 tons of tree biomass per truck results in a lot of materials and
                trucks to transport offsite.
            o Denver Water made assumptions about merchantable timber options based on current
                condition, which will be revisited as we get closer to disposal.
    • Doug noted Denver Water is required to remove as much biomass as possible from the
        inundation area for water quality concerns.

 Areas of removal
    • Doug described the tree clearing phases for both the site development locations and the reservoir
        inundation area. The early phase clearing is about 50-60 acres depending on final design and
        locations of facilities.
    • Abel asked about how Denver Water will coordinate with agencies on Tree Removal Plan input.
            o Doug said Denver Water will be providing the Tree Removal Plan for review to
                stakeholders including Boulder County and Gilpin County in early to mid-March. Denver
                Water will allow agencies time to comment and provide feedback to Denver Water. After
                comments are received, Denver Water will review and make updates to the final Tree
                Removal Plan. Once final, the Plan will be submitted to FERC for review and approval
                (July 2021).
                     ▪ Melissa added that the agencies will have a 30-day comment period to allow time
                          to respond.
                     ▪ Conrad said that Boulder County would not be able to review the Tree Removal
                          Plan before the 1041 has been fully processed.
                     ▪ Travis noted that Boulder County stated in its comments that it expected an
                          opportunity to review the plans during the 1041 process and that Denver Water is
                          trying to accommodate that request.
            o Doug said Denver Water will present the information to agencies on the current timeline
                and will press on as best we can with the review and comments we receive.
    • Abel asked about the possibility of using the rail line to reduce truck traffic.
            o Doug noted he did not include that information in this presentation but has met with the
                Union Pacific Railroad representatives to discuss use at the siding for the GRE Project.
                Doug noted that rail line is difficult to use currently for a number of reasons including
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                requirements to use active rail engines to hold cars in place in addition to being a very
                active line with Amtrak and other traffic. The area is also very narrow and there are
                certain rules around maintaining clearance from the main line that complicate its use for
                the GRE Project. Denver Water did explore using rail and will be sure to address that in
                our Tree Removal Plan.
     •   Abel made a note that Boulder County is likely to continue to receive comments throughout this
         process and wanting to make Denver Water aware of that process.
             o Doug said Denver Water understands Boulder County will continue to receive comments,
                is doing its best to respond to the comments we have now and agrees there will be more
                input as the process continues.
     •   Doug discussed the grade in the area around the reservoir and why that makes some of this tree
         removal work more difficult.

 Equipment
    • Doug discussed the different standard types of equipment that will be used for the tree removal
       work.
    • Doug said more than half of the tree removal will use helicopter logging because of the grade
       discussed earlier. The use of helicopters was identified as the most effective and efficient way to
       remove the timber. Using helicopters also reduces the duration of tree removal activities. Landing
       sites will be required for processing of material and transportation preparation (mulch/burn/etc.).

 Disposal Options
    • Doug discussed the various disposal options Denver Water investigated.
           o The recommendation from our forestry consultants was that landfill disposal is the status
                quo. Doug noted landfill disposal is the starting point for assessment, but Denver Water is
                looking at ways to reduce biomass on site to reduce truck trips.
           o Air Curtain Destructors are a way to reduce the biomass to haul off site, but air quality
                concerns, as well as wildfire concerns, might make this difficult.
           o Grinding and chipping of material on site could be used for power generation off-site.
           o Cordwood options depend on the merchantable cost. There is some local use and
                interest. This option will be reevaluated as we get closer to the disposal phase.
           o Biochar was evaluated for onsite processing, but the long processing times cause
                limitations for on-site use, but this doesn’t mean biochar isn't an offsite option.
    • Doug noted logging roads will need to be developed on the west side of the reservoir to access
       certain areas around the reservoir for tree activities. Roads conditions will limit transportation
       options (low-clearance, high-capacity trailers will not be used).

 Environmental Consideration
    • Doug discussed the various environmental considerations that will be incorporated into the final
        Tree Removal Plan including:
             o Elk winter range timing, as well as nesting season (raptors and other birds), that could
                 pose work limitations in some areas.
             o Noise mitigation.
             o Erosion control.
             o Dust suppression.
             o Spill response.
    • Rick Solomon mentioned that Roberto is on the call and oversees the overweight and oversized
        office. Rick also noted the UPRR bridge on SH 72 has a 14’ 6” clearance which may limit the
        transport of large equipment like what has been shown in this presentation.
             o Doug said the Denver Water contractor will be made aware of this and will be identifying
                 how to get the necessary equipment to site given the restrictions in place along the route.
    • Roberto asked if Denver Water has weights for the trailers that will be used.
             o Doug said Denver Water does not have that information at this time. The box truck shown
                 on the screen earlier is similar to a conventional WB-50 style truck. This truck will fit the
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                  improvements on the east side. Denver Water will be considering transport vehicle
                  configurations as part of the evaluation of the west side access roads process.

 Removal Methods
    • Doug discussed the work performed by the forestry consultants who looked at all the different
      removal options and different considerations including: the most cost effective and efficient tree
      removal and disposal, maximizing biomass utilization, minimizing tree removal traffic and
      minimizing nuisance factors.

 Tree Removal Approach
    • Doug described the arrangement of the preferred approach, which has four landings sites around
        the reservoir where tree processing will occur. He noted the location on the North Shore has
        complex access but the quantity of materials is lower at that location. This location will require
        short wheelbase trucks to move material off-site.
    • Doug noted the Tree Removal Plan and helicopter landings are only for the larger reservoir
        inundation area clearing and do not apply to the first phase of tree clearing.
    • Multiple landing areas on the east side of the reservoir balances the amount of biomass between
        east and west landings and reduces west side community haul truck traffic impacts.

 Highways and Roadways
    • Doug described the planned intersection improvement at SH 72 and Gross Dam Road. However,
       until that intersection is improved, Denver Water will use Crescent Park Drive and SH 72 through
       2022 for safety reasons.
    • Doug noted CR 97 and 97E are roads that might need some local improvements in the future.
    • Doug noted the east haul routes all use Gross Dam Road and SH 72 and, depending on the final
       disposal location, the route will differ once trucks reach SH 93. There will be no traffic West on
       SH 72 toward Pinecliffe from Gross Dam Road. Also, there will be no trucks on Flagstaff Road.
       Doug noted he believes this road has a restriction against trucks.
            o Mike added there is a length warning on Flagstaff Road, but no prohibition.
    • Doug noted CR 97 was the original aggregate delivery route for the original dam construction.
    • Doug noted that final destination on the west side is likely the landfill. There may be merchantable
       timber depending on market conditions at the time of the work, which Denver Water will continue
       to investigate.
    • Doug added that there is not a lot of daily volume with the chipping disposal method.

 Additional Questions
    • Conrad asked if Denver Water has selected a landfill for the material.
             o Doug said the landfill on SH 93, south of SH 72 seems like a good candidate for the early
                 clearing. He noted that landfill location is also a candidate for the later reservoir clearing.
    • Mike asked once you get out to SH 119 where do you go from there? Are you still unsure of that
        final destination?
             o Doug said at this time Denver Water would be speculating. It could come back to the
                 landfill on SH 93. That would be the best guess, but it will depend on market conditions,
                 as well as energy producers.
                     ▪ Mike followed up that if we assume the west side goes to a landfill where would it
                           go.
                               • Doug said the material would be in tractor trailers rated for over the
                                  highway so Denver Water can make suggestions for a route based on
                                  that. He noted contractors take guidance from Denver Water and there
                                  can be contractual restrictions. Doug noted if there is input from agencies
                                  that there is a preferred route, Denver Water is open to suggestions.
                               • Roberto suggested Denver Water not look at the route through US 6 to
                                  SH 58 due to emergency services limitations and difficulty responding if
                                  there is an incident.
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                             •     Doug asked if trucks should then stay on SH 119. He also noted that as
                                   Denver Water gets closer to getting a proposal out for the tree removal
                                   work and learns more from the first phase of tree clearing, partners can
                                   coordinate on final routing.
    •   Roberto asked what the total volume coming out the west side would be.
             o Doug noted Denver Water does not have the exact percentage but probably that
                 approximately 60% of the 24,000 tons is on the west side.
             o Doug noted Denver Water will get some additional input on routes from stakeholders as
                 part of the March review.
    •   Steve Durian stated that he had heard commitments that nothing will go through the City of
        Boulder. Is that correct? And if so, what routes will you use?
             o Doug noted Denver Water has committed to not using Flagstaff Road for trucks.
             o Steve proposed the route could be SH 93 North to Table Mesa to SH 157 to SH 119 to
                 Longmont. Is that still a possible route?
                     ▪ Doug noted that, while he isn’t sure Denver Water would preclude City of Boulder
                          roads, he can’t think of reasons Denver Water would route traffic that way. If
                          there is material going to a sawmill, trucks might use that route. It’s more likely
                          they would go SH 93 or I-70.
                     ▪ Roberto asked if SH 119 to Boulder Canyon was an option.
                               • Doug said Denver Water is not sure we would use that route.
                               • Mike asked that, once on SH 93 North toward Longmont, how will trucks
                                   go around City of Boulder? He noted the turn from Broadway is adequate
                                   but the turn to Table Mesa is tight. He noted it’s complicated and would
                                   suggest Denver Water look at those areas.
                               • Doug noted that Denver Water will be in an approval process for the tree
                                   removal with grading permits, which could include a haul route
                                   determination. He added that the only reason Denver Water is looking to
                                   Longmont is the sawmill.
                               • Doug also noted Denver Water doesn’t like the landfill option but is
                                   limited with time constraints and volume.
    •   Tim asked about the west haul route and whether the blue line on the map is a connection
        between the onsite point of departure, going toward SH 119. He noted that the intersection at
        Magnolia and SH 119 does not have auxiliary lane. Denver Water may want to evaluate that
        intersection earlier on in the process as well.
             o Doug noted Denver Water will add that to the traffic engineer study list.
    •   Doug noted Denver Water is updating some traffic impacts studies for the intersection and
        looking at the west side with preliminary studies. Denver Water saw agency comments in the
        1041 comment that noted CDOT Region 4 interest. Denver Water will work on additional studies
        for Region 4 issues and connections. Doug added there will be separate traffic studies based on
        the area and there will be an overall traffic impact analysis with Boulder County focus, as well as
        studies tailored for Region 1 and Region 4 areas. He noted the Region 4 studies should capture
        Gilpin County interests as well.
             o Abel asked when those will be available for review.
                     ▪ Doug explained Denver Water is waiting on recreation to open this season to get
                          updated traffic numbers. Denver Water will be spending the next four months
                          updating what has been done previously since the traffic data has aged and will
                          try to get Region 4 area around mid-summer.
    •   Rick discussed the access permit on SH 72 and Gross Dam Road and that he would like to see
        that application sooner rather than later. He noted that, as Doug explained, there is a lot of
        equipment and CDOT would prefer to bring that equipment through the improved intersection. He
        added that the new access would displace the current access and with that work there are some
        Right of Way acquisitions. He also noted these acquisitions are time consuming and stressed that
        it would be in Denver Water’s best interest to get working on that soon.
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          o   Doug agreed the sooner Denver Water can get that intersection improved the better.
              Denver Water is sending that message to Boulder County and think it will take 9 months
              for the property acquisitions.
          o   Rick added he cannot expedite that review process for the application.
                   ▪ Doug said Denver Water is leading that process and plans to dedicate the
                       property acquisitions back to the respective agencies after project completion.
                       Doug added Denver Water wants to be set on geometry before acquiring
                       properties.
                   ▪ Mike noted Boulder County will not sign off on the access permit until after 1041
                       approval. Based on the schedule, that puts starting the access permit process in
                       August and agrees that it is on Denver Water’s radar. Mike also noted if the
                       county were doing the property acquisition, they would wait to begin the
                       acquisition until the roadway alignment was complete as well.
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Gross Reservoir
Expansion Project –
Tree Removal

Feb. 10, 2021
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Introductions


                                 HELLO
                                   my name is
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Safety Moment – The 20/20/20 Rule For Eye Strain
•   The 20/20/20 rule, if followed, helps
    reduce fatigue and eye strain.
• It is pretty simple and states: Every 20
  minutes, take at least 20 seconds and
  look away from your work/screen and
  focus on something else that is at least
  20 feet away from you.
•   Get up out of your chair.
• Blink your eyes rapidly to propagate tear
  production.
•   Stretch your legs and arms.
•   Walk around if you are able.
•   Turn your neck and move your shoulders
    around.
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Purpose of the Meeting

To facilitate a common understanding across stakeholders of
timelines and expectations relating to vegetation clearing, reservoir
perimeter tree clearing, timber harvesting and disposition, tree
removal waste hauling and planned timelines for operations

What we have heard:
• All stakeholders are concerned about the route of trucks hauling tree removal
  biomass
• All stakeholders want the least disruptive approach to the tree removal activity
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                                 Agenda
                                 • Timeline overview
                                 • Topics:
                                      •   Project and Site Plan Overview
                                      •   Agency Involvement
                                      •   Areas Requiring Tree Removal
                                      •   Tree Removal Methods
                                      •   Processing Alternatives
                                      •   Transportation of Tree Removal Byproducts
                                      •   Schedule

                                 • Discussion
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Housekeeping
• Please turn on your cameras.
• We will go topic by topic with time for larger discussion between each…
• But let us know if you have a question:
  •   Drop them in the chat.
  •   Use the “Raise Hand” function.
  •   Jump in!

• Copies of slides will be provided after the meeting.
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Scope of Gross Reservoir Expansion

• Initial phase completed in 1954.
• Designed with expansion in mind.
• Increase storage by 77,000 AF.
• Raise height 131 feet.
• Doubling surface area.
• 7,406 spillway elevation at
  completion.
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  Boulder County 1041 Permit

                                                  (Expected)
                                                  Boulder County
                                                                                                  (Expected)       (Expected)
                                                  received
           Boulder County                                                                         Planning         County
                                                  Denver Water
           referral period –                                                                      Commissioner     Commissioner
                                                  responses
           extended to Dec. 17                                                                    Hearing          Hearing


  Sept.    Oct.     Nov.       Dec.       Jan.        Feb.       March        April       May        June   July     Aug.



Denver Water         Denver Water        Denver Water        (Expected)
submitted 1041       receives            requests            Denver Water
Application to       comments            extension           to share Tree
Boulder County       and begins          until Feb. 19       Removal Plan
                     analysis                                for review,
                                                             comment
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Gross Reservoir Expansion Site
Areas Disturbed by Construction
•   Gross Dam Road & SH 72
    Intersection
•   Quarry at Osprey Point
•   Haul Roads and Staging Areas
•   Aggregate Crushing Plant
•   Concrete Batch Plant
•   Raised Dam Foundation
•   Reservoir Perimeter Below Elev.
    7406
•   Relocated Recreation Areas

                                                                 Overall Gross Reservoir Expansion Site Plan
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Agency Stakeholders
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Federal Energy Regulatory Commission Order 2035-099
FERC Order issued July 16, 2020
Major Plans Required by the FERC in 2021:
•   Tree Removal Plan
•   Aquatic Invasive Species/Noxious Weed Plan
•   Recreation Management and Monitoring Plan
•   Traffic Management Plan
•   Quarry Development and Reclamation Plan
•   Archaeological Plan and Historic American Engineering Record
    (HAER) documentation
Plan submission to the FERC required by July 16,
2021 with jurisdiction comments and responses
Construction start required by July 16, 2022
Dam Completion required by July 16, 2027
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Tree Removal Planning – General

Detailed Tree Removal Plan being developed and will be shared with
jurisdictions in March 2021
• Tree removal will occur in 2 phases
  ➢ Initial clearing of the quarry, haul roads, staging areas, plant locations and the dam footprint
  ➢ Reservoir perimeter clearing as dam completion nears

The Tree Removal Plan will address:
• Transportation management during tree removal activities
• Environmental protections to be followed during tree removal process
• End use of all tree removal material
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Forest Resources and Inventory

• Updated plan in 2019 using 2005 and 2008 reports as a base. Identified four
  removal options and moving forward with one option in 2021 update.
• Tree Removal Plan identifies 36 unique stands of trees for removal.
  Vegetation predominately ponderosa pine and Douglas fir, with some
  Colorado blue spruce and Rocky Mountain juniper.
• An estimated 24,000 tons of forest biomass to be generated during reservoir
  clearing operations.
• The value of the sawtimber is considered non-merchantable (i.e., biomass)
  but this will be revisited at the time of tree removal contracting.
• The Tree Removal Plan requires all quantities of biomass are completely
  removed down to a minimum material length and diameter of 2 inches within
  the inundation area.
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Where is tree removal required?
• Aggregate quarry, haul roads, staging areas, dam
  footprint
• Reservoir perimeter below Elev. 7406




               Reservoir perimeter                                     Early clearing for quarry, dam and staging areas
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Terrain Where Tree Removal is Required is Steep

• Orange areas
  indicated terrain too
  steep for tracked or
  wheeled equipment.
• Different tree removal
  methods are required
  throughout the area to
  be cleared.
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Tree Removal Equipment




 Feller Buncher
                                                                                                    Cable




                                                                                                            Mulchers
       Skidder                                                                                              Masticators
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Helicopter Logging

• Method of logging that can be
  used where stands are
  inaccessible.
• Cables are dropped from the
  helicopter and used to remove
  cut trees and woody biomass.
• The use of helicopters
  reduces the infrastructure
  required to log a specific stand
  and greatly reduces the
  schedule and timing of
  operations.
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Helicopter Logging Landing Site

• Helicopter landing sites stage trees and
  biomass collected from around the
  reservoir.
• Trucks hauling biomass offsite are
  loaded at the landing sites.
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Disposal Options

•   Landfill disposal of biomass is the status quo disposal option from the 2019 TRP study.
•   Air Curtain Destructor: Reduction in biomass can be achieved but air quality considerations
    and seasonal restrictions due to fire restrictions may limit the effectiveness.
•   Grinding: Large grinders are used to convert entire trees into rough chips then hauled to
    biomass facilities is an option for debris disposal.
    •   Chips can be used as fuel for steam generation, compost or transported to a landfill.
    •   Several facilities operate in the greater project working area:
        •   Eagle Valley Green Energy in Gypsum.
        •   Confluence Energy in Kremmling.

•   Cordwood production may be possible for disposal/use by local vendors. The Nederland
    Community Forestry Sort Yard may be used at the time of tree clearing.
•   Biochar: Evaluated for on-site use but has limitations. Still an option for offsite disposal.
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Air Curtain Burning of Biomass

• Air curtain destructors (ACDs) are
  designed and constructed to optimize the
  air curtain concept.
• High velocity air is blown across and
  down at an optimum angle into the box
  creating the air curtain on top and a
  rotational turbulence within the firebox.
• The combustion process reduces the
  wood waste to usable biochar and carbon
  ash by approximately 98 percent, leaving
  about 2 percent in volume (100 tons of
  wood, or 2 to 4 tons of ash and biochar)
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Biomass Grinding and Transport

• Non-merchantable tree
  biomass requires grinding
  and transport offsite.
• Logging roads in National
  Forest require USFS                                                  Wood chip grinding equipment (typical)
  approval for construction
  and reclamation.
• Chip vans require suitable
  grades and curves between
  processing yards and                                                                           Regular box vans likely
                                                 Possum belly trailers allow the
  connections to local access                    purchaser to haul more chips                    required to haul chips
  routes.                                        per load but limit the ability to
                                                 get into sites due to low ground
                                                 clearance.
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Environmental Considerations for Tree Removal

The schedule for tree removal would consider, among other items:
• Key winter range timing for elk (December 1 through March 30).
• Raptor nesting season (April 1 through July 31).
Noise mitigation through equipment selection and haul route selection.
Installation of erosion control features and BMP’s prior to tree removal operations.
Follow USFS requirements on National Forest lands.
Dust suppression on gravel roads during hauling operations.
Having spill response equipment and containment equipment on site as a precautionary
measure. Monitoring fueling operations for safety and spill prevention.
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Stand and Biomass Removal Methods

Selection criteria for the approach to tree removal considers:
• The most cost-effective and efficient tree removal and disposal option.
• Maximize biomass utilization.
• Minimize tree removal traffic.
• Minimize nuisance factors such as noise, light, and odor.


             Stand Removal Method                           Biomass Removal Method
         Hand Felling – Helicopter                      Hand work, Heli-bucket
         Feller/Buncher/Skidder                         Mulcher
         Cable                                          Cable Cleanup
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Preferred Tree Removal Approach – 4-Log Landings

4 Landing and Staging Sites
1. NW landing on Winiger                                                                             4
   Ridge
2. SW landing near end of                                                          1
   Lazy Z Road (CR 97E)
                                                           2
3. SE landing near Osprey
   Point
4. NE landing near North
   Shore peninsula
                                                                                                 3
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Preferred Tree Removal Approach – 4-Log Landings

• This alternative would make use of four log landing sites: (1) Winiger Ridge,
  (2) Winiger Gulch Road, (3) Osprey Point Road, and (4) North Shore Point for
  primary processing of all harvested logs and biomass.
• Reduces west side community haul truck traffic impacts.
• Best operational options from unplanned shutdowns or mechanical issues
  with four landing areas.
• The least helicopter round trips for yarding biomass.
• Provides a spectrum of biomass disposal opportunities i.e., cordwood, chips
  and energy.
• Provide opportunities to minimize impacts on wildlife.
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Highways and Roadways in Gross Reservoir Vicinity

State Highways
• State Highway 72 Coal
   Creek Canyon Drive
• State Highway 93
• State Highway 119
Boulder County
• CR 77S – Gross Dam Road
• CR 77 – Flagstaff Road
• CR 132 Magnolia Dr
• CR 97
• CR 97E Lazy Z Road
Gilpin County (SH 72 & CR 97)
Jefferson County
• Crescent Park Drive
                                                                   Area Roadway Map
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Access Routes for Trucking of Biomass - East

• East side haul via Gross Dam
  Road and SH 72 to the East.
• Early trucking of biomass uses
  Crescent Park Drive until SH 72
  and Gross Dam Road
  intersection improved (Q4 2022).                                                                     On-site Access
• No truck traffic on SH 72 from                                                                       Roads

  Gross Dam Road intersection to
  Pinecliff.
• No truck traffic on Flagstaff
  Road.
                                                             Truck route from site to SH 72 and SH 93 intersection
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Access Routes for Trucking of Biomass - West
•   West Side Access via Lazy Z Road (CR 97E)
    to CR 97 to SH 72 or SH 119 depending on
    destination
•   No Trucking on SH 72 from Gross Dam Road
    intersection to Pinecliff
• No trucking on CR 132 Magnolia Rd East to
  SH 119


                                                                                          On-site Access Roads




            Truck route from site to CR 132 and SH 119 intersection
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Schedule
• Develop Access and Support
  Facilities, Materials Lab, Initial
  Tree Clearing, Surface Prep of
  Dam – 2022
• Foundation Excavation and
  Grouting – 2023
• Stilling Basin and Dam Raise –
  2024 thru 2026
• Reservoir Tree Clearing –
  2025-2026
• Dam Bridge, Crest, HPU
  Building, Reclamation,
  Demobilization - 2027
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Discussion
• Did we answer the questions you had?
• Is there any other feedback you have for us?
